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                     EXHIBIT 7
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                          In The Matter Of:
                              LONG vs.
                             FERNANDEZ




               BRUCE JOHN 'B.J.' MACFARLANE
                     November 15, 2023




                      Challe, Fisher & Morfin
                         1828 South Street
                     Redding, California 96001
                           (530)246-0942
                         cfmdepos@att.net




                          Original File B.J. Macfarlane.txt
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 1                    UNITED STATES DISTRICT COURT
 2                   EASTERN DISTRICT OF CALIFORNIA
 3                         SACRAMENTO DIVISION
 4   E.L., a minor, by and through her             )
     general guardian, JESSICA LONG;               )
 5   JESSICA LONG, an individual,                  )
                                                   )
 6                         Plaintiffs,             )
                                                   )
 7       vs.                                       )
                                                   ) NO. 2:22-cv 01527
 8   LIEUTENANT JERRY FERNANDEZ,                   ) DAD-AC
     individually and in his                       )
 9   individual capacity as Sheriff                )
     for the County of Shasta;                     )
10   DETECTIVE JACOB DUNCAN,                       )
     individually and in his                       )
11   individual capacity as Sheriff                )
     for the County of Shasta;                     )
12   DETECTIVE JEREMY ASHBEE,                      )
     individually and in his                       )
13   individual capacity as Sheriff                )
     for the County of Shasta; SHASTA              )
14   DISTRICT FAIR AND EVENT CENTER, a             )
     district agricultural                         )
15   association; COUNTY OF SHASTA;                )
     SHASTA COUNTY SHERIFF'S                       )
16   DEPARTMENT; MELANIE SILVA, in her             )
     individual capacity; BJ                       )
17   MACFARLANE, in his individual                 )
     capacity; and DOES 1 through 10,              )
18                                                 )
                      Defendants.                  )
19   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
20                            ---oOo---
                    WEDNESDAY, NOVEMBER 15, 2023
21                           10:08 a.m.
             VIDEOTAPED DEPOSITION OF BRUCE JOHN "B.J."
22                           MACFARLANE
                              ---oOo-
23
24
25           Reported by:      CAROL J. CHASE, CSR No. 13538

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            1        Q       Okay.    Did you ever consider it?
            2        A       No.    Because I was waiting to -- at this
            3     point, I'm waiting to hear from Melanie who's
            4     waiting to hear from CDFA and I'm not doing anything
13:28:18    5     else.
            6        Q       Okay.    All right.
            7        A       In terms of recovering a goat, that was up
            8     to CDFA and Melanie to say yes or no if they're
            9     going to recover the goat.
13:28:32 10          Q       So when did you first make contact with --
           11     I know we discussed -- strike that.
           12                We discussed Sunday how you went back to
           13     the fair and you had conversations with Melanie, but
           14     you don't recall what exactly you spoke about.                Do
13:28:45 15       you recall if you tried to reach -- if you tried to
           16     reach out to Jessica that day?           This is -- this is
           17     Sunday now.
           18        A       I think it was Mon- -- I might have reached
           19     out to her that day, but I think it was Monday
13:28:57 20       before I actually talked to her.            But that's a vague
           21     remembrance.
           22        Q       That's fine.
           23        A       Monday is when I actually talked to her.
           24        Q       And did you --
13:29:08 25          A       But then we had a text of stuff back and

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                                    BRUCE JOHN 'B.J.' MACFARLANE


            1     forth.
            2        Q       Okay.    And you spoke with her on the phone,
            3     correct?
            4        A       (Nodding.)
13:29:14    5        Q       Do you remember about what time you spoke
            6     with her on the phone?
            7        A       It was mid morning maybe.           I remember,
            8     again -- I don't know why I can't remember times.                   I
            9     remember where I was standing in the middle of the
13:29:27 10       fairgrounds, but I'm guessing mid morning 9:00-ish.
           11        Q       Maybe you're spatially oriented and that's
           12     why you couldn't remember -- and not temporarily
           13     oriented.     I don't know.
           14                So you remember speaking with her on the
13:29:40 15       phone around 9:00-ish at the fairgrounds.              And do
           16     you remember what you discussed with her?
           17        A       Yes.    I asked her that we need to get the
           18     goat back.
           19                And she said, "There's got to be some other
13:29:55 20       way."
           21                And I said, "No, there's no other way that
           22     you don't own the goat at this time.              It's my
           23     opinion you're stealing something over $400 of
           24     agricultural commodities.          It's considered a
13:30:09 25       felony," which I had to look it up.

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                                   BRUCE JOHN 'B.J.' MACFARLANE


            1                MR. BRIDGES:      Stop for the second for --
            2     you good?
            3                THE COURT REPORTER:        I'm good.
            4                MR. BRIDGES:      Go ahead.      I'm sorry.
13:30:16    5                THE WITNESS:      And then she said, "There's
            6     got to be some other way to work it out," back and
            7     forth, back and forth.         And then I believe she
            8     wanted the documentation from the 4-H office and
            9     from us.     And then -- then that correspondence went
13:30:35 10       from Melanie to her.
           11     BY MR. GORDON:
           12        Q       Okay.    So you said you had to look at the
           13     felony.    What felony did you -- I know you not an
           14     attorney --
13:30:40 15          A       No, but it's --
           16        Q       -- but you -- what do you recall?
           17        A       Well, I just -- anything -- a stolen
           18     property over $400 of agriculture commodity is
           19     what...
13:30:53 20          Q       If I -- if I throw a statute out there,
           21     might you recall?
           22        A       No.
           23        Q       487- -- Penal Code 487(a); is that
           24     potentially livestock theft?
13:31:04 25          A       Yeah.    It was a livestock, yeah.          It was

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            1     livestock.
            2        Q       I'll just show it to you, and you can tell
            3     me if that's the one you were talking with her
            4     about.    I'll just pull it up online.           You can read
13:31:14    5     it and tell me if it's the one.           It's the one that's
            6     written all over the sheriff's investigation
            7     reports.     I assume it's -- and it's the one that
            8     Jessica understood you to be talking about.               But
            9     I'll just see if you can tell me.            Just a second.
13:31:33 10       But maybe you have another one in mind.              It's --
           11     it's a long one.       But is this generally -- take a
           12     look.
           13        A       Yes, I believe that's the one I --
           14                MR. GORDON:      John, is this your first case
13:32:01 15       ever involving this statute in any capacity?
           16                MR. BRIDGES:      Yes.
           17                MR. GORDON:      Yeah.    Okay.
           18                THE WITNESS:      I think that's the one I saw.
           19     BY MR. GORDON:
13:32:07 20          Q       Okay.    All right.      Okay.    So and -- so you
           21     told her on the phone that what she did was
           22     potentially a violation of this Penal Code statute,
           23     correct?
           24        A       Yeah.
13:32:18 25          Q       Okay.    All right.      And had you -- again,

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            1     not a judgment.       But had you had any training in law
            2     enforcement or at this point in time?
            3        A       No, sir.
            4        Q       Any training on Penal Code at this point in
13:32:29    5     time?
            6        A       No, sir.
            7        Q       No.    Okay.    Had you had any training on --
            8     I know you said -- you did not believe she was the
            9     owner, but had you had any training on contracts at
13:32:40 10       this point in time?
           11        A       What kind of -- like, the fair contracts?
           12        Q       Oh, like training on interpreting
           13     contracts, what kind of -- you know, what contract
           14     laws apply here, et cetera, like the civil code,
13:32:57 15       commercial code, things of that nature?
           16        A       No.
           17        Q       Okay.    All right.      But it was your
           18     impression, for whatever reason, that the -- the
           19     Penal Code here might apply and that she committed a
13:33:08 20       felony, correct?
           21        A       Yes.
           22        Q       Okay.    And you represented that to her?
           23        A       Yes.
           24        Q       Okay.    What was her reaction when you
13:33:17 25       represented that to her?

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            1        A       I believe it was, "There's got to be some
            2     other way."      She just kept saying that.          That's what
            3     I remember her saying is "There's got to be some
            4     other way."
13:33:28    5        Q       Okay.    Did was seem frightened?
            6        A       No.    She just was seemed she wasn't going
            7     to give the goat back.
            8        Q       All right.      All right.
            9        A       I don't think she seemed -- I don't -- no,
13:33:41 10       I don't think she was frightened.
           11        Q       You don't think she was frightened.             Okay.
           12     All right.
           13                Did you think -- again, I'm asking you
           14     personally, did you think a felony was maybe
13:33:52 15       overkill for what happened here?
           16                MR. BRIDGES:      Just object that's not
           17     relevant, but if you have an opinion I guess you can
           18     share it.
           19     BY MR. GORDON:
13:34:02 20          Q       Yeah.
           21        A       At this point, no -- I don't know.             I don't
           22     know.    At -- there was a goat that was stolen and so
           23     that's what I thought at that point.
           24        Q       Okay.    Yeah.    I mean, the reason I'm asking
13:34:14 25       is because earlier you used the word "everyone was

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            1     shocked," so -- so shocked to the level of this is a
            2     felony?
            3         A       No, I just -- shocked that someone stole a
            4     goat.    I mean, that's not -- felony had nothing to
13:34:31    5     do with it in my opinion.          I mean -- no.
            6         Q       Well, it must have had something to do with
            7     it because you said it to her.
            8         A       I looked it up and I just thought -- but I
            9     just wanted the stolen goat back at that point n
13:34:48 10       time.    It would make things a lot easier.
           11         Q       So you looked -- whenabouts did you look
           12     this -- I know it was before talking to Jessica, but
           13     do you know whenabouts?
           14         A       Sunday sometime maybe.
13:34:58 15           Q       Sunday.    Okay.    All right.      And -- okay.
           16     So you had this conversation with Jessica on the
           17     phone.    You tell her she committed a felony in your
           18     opinion or potentially committed a felony, you
           19     know --
13:35:08 20           A       Yeah.
           21         Q       I know you're not a cop or the DA, but
           22     that's what's expressed to her.            And -- and then
           23     your communications pivoted just to texts, correct?
           24         A       (Nodding.)
13:35:21 25           Q       Okay.    And -- okay.      So on -- also on

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            1     going to break soon, but let me ask a couple more
            2     questions.
            3                 So this is Exhibit E.
            4                 And I -- could we go back to where is the
14:00:32    5     text chain of Ms. Muse?          No, not that one, B.J.          The
            6     other one.      This -- this one.        If you wouldn't mind
            7     pulling that up for one moment.
            8                 (Referring to Exhibit C.)
            9     BY MR. GORDON:
14:00:49 10           Q       So give me one second.          All right.
           11                 So -- so you had this -- do you recall
           12     this -- these texts with Ms. Muse?              This looks
           13     accurate to you?        It's the same --
           14         A       Yeah.
14:01:09 15           Q       -- the inverse of what you produced the
           16     other day.      Same thing, correct?
           17         A       Yes.
           18         Q       All right.      Okay.    So do you know who -- so
           19     this -- this text chain begins on June 28th with the
14:01:21 20       Instagram post.        Do you know if the sheriffs were
           21     involved at that point in time?
           22         A       I do not recall.
           23         Q       I believe it's Tuesday, the 28th.            Isn't
           24     it?     Because 25th is Saturday, 26th, 27th, yeah,
14:01:41 25       Tuesday, right?

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            1         A       I don't recall when the sheriffs were -- I
            2     believe I called Sheriff Johnson at some point this
            3     week and I don't remember when.
            4         Q       Oh, you -- so you called --
14:01:52    5         A       I -- not me, yeah, somebody did.
            6         Q       Somebody did.      But you called Sheriff
            7     Johnson at some point?
            8         A       And I think it was me.         Again...
            9         Q       Do you remember what date that was about?
14:02:02 10           A       No clue.     Some -- I'm guessing sometime
           11     this week, maybe Tuesday, maybe Wednesday.               I...
           12         Q       Now could it have been -- and the reason
           13     I'm asking this -- could it have been earlier than
           14     that?    Could it have been the 26th?           And I'll show
14:02:25 15       you why I'm wondering that, because the -- the
           16     police report for the -- the case or the sheriff's
           17     report -- I'm happy to show it to you -- I believe
           18     was generated on the 26th.
           19         A       Okay.    Then it was the 26th.
14:02:39 20           Q       Well, let -- let me look first to make
           21     sure, because I don't want to -- I want to pull it
           22     up and double check and I'll show it to you.
           23     Because I -- I might have -- I'm almost positive,
           24     but -- because, as you can imagine, I've looked at
14:02:56 25       this police report, you know, way more than I've

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            1     wanted to in life, so...
            2         A       I'm not sure if...
            3         Q       I'm sorry.     What did you say, B.J.?
            4         A       I'm not sure if -- I'm not even sure if I'm
14:03:14    5     the one that called him, but...
            6         Q       Well, you just said a moment ago you called
            7     Sheriff Johnson.
            8         A       I -- yeah, I -- I think I did.            I couldn't
            9     tell you for exact if I did or not.
14:03:25 10           Q       Well, I'm asking you to remember the exact
           11     day you did.      That's what I'm trying to help you
           12     with.    But you do -- you do remember calling him,
           13     yes?
           14         A       I believe I talked to him at one point,
14:03:37 15       yes.    I don't know if I'm the one that called
           16     and ac- -- actually had the actual complaint or if
           17     Melanie did.
           18         Q       Okay.    That's fine.      That's fine.      But
           19     you --
14:03:45 20           A       Because I do remember talking to him at
           21     some point.
           22         Q       I'll represent to you Fernandez testified
           23     that Sheriff Johnson told him to investigate the
           24     matter.     So someone told him.        You had a
14:03:58 25       conversation --

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            1     correct?
            2         A       Yes.
            3         Q       Okay.    All right.      And about what time did
            4     they drop him off?
14:12:06    5         A       It was 11:30 or something.           It was late at
            6     night.
            7         Q       Late at night.       Okay.     And did you know
            8     they were dropping him off that day?
            9         A       Yes.
14:12:17 10           Q       Okay.
           11         A       I think Melanie -- I don't know how it went
           12     down.    I don't know if Melanie called me and told me
           13     they were bringing it.
           14         Q       Do you about know what time she called?
14:12:38 15           A       No.    It would have been -- no idea.           And if
           16     she -- I don't -- I do not remember how.
           17         Q       Okay.    But, obviously, earlier than when
           18     the sheriffs got there?
           19         A       Yeah.
14:12:58 20           Q       Yeah.    So --
           21         A       That afternoon, assuming.           I think it was
           22     Melanie that afternoon said that they were going to
           23     perform the search warrant or whatever warrant they
           24     had.
14:13:18 25           Q       Uh-huh.     Okay.    So she told you in the

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            1     afternoon that they were going to go bring the --
            2     the goat to you that night?
            3         A       Yeah.
            4         Q       Did she give you any instructions?
14:13:25    5         A       I don't --- that I was to hold on to the
            6     goat.
            7         Q       Okay.    Hold on to the goat for -- until
            8     when?
            9         A       Until the state said what was going to
14:13:33 10       happen.
           11         Q       Till the state -- what do you mean "the
           12     state"?
           13         A       Mike Francesconi or the lawyer.            I don't
           14     know.    That's -- that's above my pay grade.             I was
14:13:46 15       just --
           16         Q       I understand.
           17         A       -- housing the goat.
           18         Q       Okay.    Do you know which lawyer?
           19         A       No.
14:13:51 20           Q       Was this the CDFA's lawyer?
           21         A       Yes.
           22         Q       Okay.
           23         A       Yes, it was the CDFA's lawyer.
           24         Q       Okay.    So then -- I know we're getting
14:14:01 25       tight on time for today but -- but your -- your

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            1     follow-up text to -- to Kathie is:             "Good morning.
            2     I'm gone till tomorrow afternoon, talked to sheriff
            3     and he said to wait until he talks to DA before we
            4     kill goat."      It's per- --
14:14:17    5         A       Yeah.
            6         Q       Okay.    So --
            7         A       And I believe the -- because I thought
            8     Melanie -- we were in touch with the CDFA's lawyer
            9     as well.
14:14:26 10           Q       Okay.    Do you remember what that lawyer's
           11     name was?
           12         A       Excuse me?
           13         Q       Do you remember the lawyer's name at CDFA?
           14         A       I've never dealt with them.           Melanie.
14:14:36 15           Q       Melanie would know.        Okay.    Okay.    So --
           16     but you know -- when you say the sheriff here, do
           17     you know -- "talked to sheriff."            Do you know who
           18     you --
           19         A       Johnson.
14:14:45 20           Q       Johnson.     Okay.    And the -- and as far as
           21     the DA here, do you know which DA you're talking
           22     about?
           23         A       It's a woman.      I do not know her name.
           24         Q       Is it -- so if you go to the last page of
14:15:01 25       that, is it Stephanie Bridgett, by chance?               The very

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            1     last page.      This is --
            2         A       Yeah.    That would be the district attorney,
            3     yeah.    I don't know her and --
            4         Q       Okay.    So you were waiting on the sheriff
14:15:18    5     and the District -- District Attorney and the CDFA
            6     to determine what to do with -- with Cedar?
            7         A       Yes.
            8         Q       Okay.    All right.      Okay.     Okay.     And
            9     then -- I'm just going to finish this chain and then
14:15:36 10       we'll get out of here.          We're almost to the end of
           11     it.     Go to the next page, would you?
           12                 MR. NORTHCUTT:       Ryan?
           13                 MR. GORDON:      Ys.
           14                 MR. NORTHCUTT:       Can we get these documents
14:15:44 15       that he's looking at now marked as an exhibit?
           16                 MR. GORDON:      Yes.    Well, it is marked as an
           17     exhibit.     It's --
           18                 THE WITNESS:       C.
           19                 MR. GORDON:      It's Exhibit C.           It's the
14:15:56 20       e-mail chain that Kathie -- Ms. Muse produced the
           21     other day, Damian.
           22                 MR. BRIDGES:       It's a text -- text chain.
           23                 MR. GORDON:      Sorry.     Thank you, John.          Text
           24     chain.
14:16:01 25                   MR. NORTHCUTT:       Okay.     I just want to be

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            1         Q       Okay.    How would you refresh your memory?
            2         A       I --
            3         Q       Is there any way you could refresh your
            4     memory to remember?
14:17:26    5         A       I don't -- I don't think we did, but I'm
            6     not going to -- I'm guessing we hadn't with that
            7     text.
            8         Q       Okay.    Uh --
            9         A       I don't know.
14:17:37 10           Q       Okay.    And what did -- do you know how many
           11     times between that period you talked with Sheriff
           12     Johnson and the DA between the 11th and the 25th of
           13     July?
           14         A       A couple times maybe.          And this was -- I
14:17:59 15       never talked to the DA.
           16         Q       Oh, how did you know the DA -- did the
           17     sheriffs say that he was waiting on the DA?
           18         A       Yes.
           19         Q       Okay.    Sheriff Johnson said he's waiting on
14:18:06 20       the --
           21         A       I think it was --
           22         Q       -- Stephanie Bridgett.          Okay.
           23                 And do you know why they were waiting on --
           24     were they reviewing the legality of anything or --
14:18:23 25       did -- was anything like that explained to you?

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            1         A       I have no idea.
            2         Q       Okay.    Did you ask?
            3                 MR. BRIDGES:       Don't speculate.        But if you
            4     know, you can tell him.
14:18:38    5                 THE WITNESS:       I -- I don't.       I'm not
            6     speculating.       I don't know.       I don't think I asked.
            7     No, I didn't ask.        I don't --
            8     BY MR. GORDON:
            9         Q       Okay.
14:18:43 10           A       -- I was holding a goat.            I was -- I had
           11     nothing to do besides I was holding a goat.
           12         Q       Nah, I understand.         Okay.    So Ms. Muse --
           13     so Ms. Muse writes, looks like, "Hey B.J. what did
           14     you end up doing with the goat?"               And this is the
14:19:02 15       25th.    And then there's a gap of three days.
           16                 Were there any other communications before
           17     you respond on July -- July 28th?               Were you -- were
           18     you -- did you communicate with Kathie anymore
           19     before that -- within that window?
14:19:16 20           A       I don't believe so.         I might have -- no, I
           21     might have dealt -- been talking with Melanie, too,
           22     through -- I'm talking to Melanie through this, too.
           23         Q       Yes.    Okay.
           24         A       But she --
14:19:27 25           Q       Yeah.    About how many times would you say

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            1     you talked to Melanie through this?
            2         A       I --
            3         Q       Multiple times?
            4         A       Yeah, multiple times.
14:19:38    5         Q       Okay.    So this is from July 11th now.
            6     I'm -- and that's the same from July -- when you got
            7     Cedar on July 8 through, let's say, the 28th is when
            8     it appears that he's killed or goes to slaughter,
            9     you talked to Melanie multiple times, correct?
14:19:53 10           A       Yes.
           11         Q       Okay.    And -- and did you tell Melanie that
           12     we're waiting to hear from the sheriff and the DA?
           13         A       And I'm -- yeah, and I don't remember if
           14     she was the one talking to the sheriff.                I think --
14:20:04 15       I know I did a couple times, but I want to think
           16     that -- I thought she was the one that was gearing
           17     it, so what -- with the state and the sheriff, so...
           18         Q       Okay.    And -- but it was never -- did you
           19     ever ask -- well, I shouldn't -- I know you said you
14:20:23 20       didn't ask.      But what was your understanding of --
           21     from talking with the sheriff?             And I know you may
           22     not say precisely in legal terms, but what was your
           23     understanding of what they were waiting to
           24     determine?
14:20:35 25           A       I don't -- I think it was over if the DA

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            1     was going to prosecute.
            2         Q       Whether the DA was -- why would they
            3     dictate whether they were going to kill Cedar or
            4     not?
14:20:55    5         A       I don't -- I -- I don't know.
            6         Q       Did it have anything to do with Jessica
            7     potentially bringing legal claims?
            8         A       That was never discussed in my knowledge.
            9     I never presumed that.
14:21:06 10           Q       Okay.    Was it ever suggested at any -- I
           11     know you may not have presumed it, but was it ever
           12     suggested that --
           13         A       Not that I -- no.
           14         Q       -- that Jessica's attorneys had called
14:21:13 15       county counsel and the sheriffs, asked --
           16         A       That was never informed to me if she did.
           17         Q       Did you know Jessica's attorneys -- me --
           18     called the sheriffs and the county counsel during
           19     this period?
14:21:24 20           A       No, sir.
           21         Q       Okay.    All right.     Okay.     Asking for the
           22     status of Cedar --
           23         A       No.
           24         Q       -- among other things?
14:21:32 25                   Okay.    So -- okay.      So you -- you felt like

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            1     you were -- just to clarify in your -- from your
            2     perspective, you felt like you were operating under
            3     the direction of Melanie and the sheriff --
            4         A       Yes.
14:21:45    5         Q       -- office?
            6                 Okay.    And potentially the CDFA, I guess,
            7     also?
            8         A       Yes.    The CDFA.
            9         Q       And the District Attorney?           Okay.   All
14:21:50 10       right.
           11                 Okay.    So what -- Bowman is a -- is a -- a
           12     slaughtering facility, yes?
           13         A       Processing facility.
           14         Q       Processing facility.         I apologize.
14:22:02 15                   Okay.    And what is the full name if you
           16     know?
           17         A       Bowman Meats.
           18         Q       Bowman Meats.       And where is that at?
           19         A       Bowman Road, Cottonwood.
14:22:11 20           Q       Bowman Road, Cottonwood.           Okay.   So did you
           21     bring Cedar to Bowman Meats on the 28th?
           22         A       No.
           23         Q       What day did you bring him there?
           24         A       They came to my house.
14:22:29 25           Q       They came to your house.           So they came and

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            1     retrieved Cedar on --          what day did that happen?
            2         A       (Nodding.)      The 28th, I'm guessing.
            3         Q       Okay.    Okay.     Well, did this refresh your
            4     memory and you remember now it being the 28th, the
14:22:44    5     same day you wrote this text?
            6         A       I don't know.       I -- I couldn't tell you the
            7     dates.    I'm sorry.
            8         Q       Okay.    Okay.
            9         A       I can tell you the dates, because I can
14:22:51 10       look at this text message and see it was --
           11         Q       Okay.
           12         A       -- the 28th.
           13         Q       Okay.    So is it fair to say your best
           14     estimate, though --
14:22:54 15           A       Yes.
           16         Q       -- is the 28th?
           17                 Okay.    All right.      Okay.     So were -- so
           18     Kathie writes, Goods news.           Finally.      And please
           19     don't forget to save the ear tags.              Did -- did you
14:23:09 20       save Cedar's ear tags?
           21         A       I did at one point.         I'm not sure what
           22     happened to 'em to be honest with you.
           23         Q       Okay.    And why were you supposed to save
           24     his ear tags?
14:23:22 25           A       I -- because Kathie told me to save ear

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            1     tags, so I saved ear tags.
            2         Q       Why would Kathie -- what's the purpose in
            3     saving ear tags?
            4         A       I have no idea.       She wanted ear tags, and
14:23:31    5     then she never -- I might have thrown 'em away.                 I
            6     don't -- they were, I think, out in my barn and she
            7     never asked for 'em again.          And I have no idea why
            8     she wanted 'em?
            9         Q       So they might be still in your barn
14:23:42 10       potentially?
           11         A       Sure.
           12         Q       Have you looked?
           13         A       No.
           14         Q       Okay.    All right.
14:23:46 15           A       But it's been --
           16         Q       It's been a minute, I understand.            But they
           17     might still be there.         You don't know what happened
           18     to them.     Why would you have thrown 'em away?
           19         A       Well, I -- I don't know if I threw 'em
14:23:58 20       away.    I don't know where they're at to be honest.
           21     But they're somewhere.         Because I have a wife and
           22     three kids; that's why they might not have made it.
           23         Q       Okay.    All right.     So your kids would have
           24     taken the ear tags?
14:24:05 25           A       Well, not on purpose.         I think -- no, they

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 1                           PENALTY OF PERJURY
 2
 3                 I, the undersigned, hereby certify that I
 4     have read the foregoing deposition, that I know the
 5     contents thereof, and I declare under penalty of
 6     perjury under the laws of the State of California
 7     that the foregoing is true and correct.
 8
 9                 Executed on ________________________, 2023.
10
11
12
13                               _______________________________
                                 BRUCE JOHN "B.J." MACFARLANE
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 1                  WITNESS' CHANGES OR CORRECTIONS
 2
 3     NOTE: If you are adding to your testimony, print
       the exact words you want to add. If you are
 4     deleting from your testimony, print the exact words
       you want to delete. Specify with "Add" or "Delete"
 5     and sign this form.
 6     Deposition of: BRUCE JOHN "B.J." MACFARLANE
       Case Title: LONG V. FERNANDEZ, ET AL.
 7     Date of Deposition: WEDNESDAY, NOVEMBER 15, 2023
 8     Page    Line         Change/Add/Delete
 9     ____    ____     ___________________________________
10     ____    ____     ___________________________________
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22     ____    ____     ___________________________________
23     ____    ____     ___________________________________
24     _______________________________ ________________
25     BRUCE JOHN "B.J." MACFARLANE                  DATED

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